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                        IN THE UNITED STATES BANKRUPTCY COURT
                             FOR THE DISTRICT OF DELAWARE

In re:                                                           Chapter 11

FTX TRADING LTD., et al., 1                                      Case No. 22-11068 (JTD)

         Debtors.                                                (Jointly Administered)


ALAMEDA RESEARCH LTD. and FTX
TRADING LTD.,

                                    Plaintiffs,

                        - against -                              Adv. Pro. No. 23-50444 (JTD)

PLATFORM LIFE SCIENCES INC., LUMEN
BIOSCIENCE, INC., GREENLIGHT                                     Ref. No. 20
BIOSCIENCES HOLDINGS, PBC,
RIBOSCIENCE LLC, GENETIC NETWORKS
LLC, 4J THERAPEUTICS INC., LATONA
BIOSCIENCES GROUP, FTX FOUNDATION,
SAMUEL BANKMAN-FRIED, ROSS
RHEINGANS-YOO, and NICHOLAS
BECKSTEAD,

                                    Defendants.


                                       CERTIFICATE OF SERVICE

         I, Matthew B. McGuire, Esquire, hereby certify that a true and correct copy of Plaintiffs’

Request for Entry of Default [Adv. D.I. 20] was caused to be served via First-Class Mail on the

following:

            Genetic Networks LLC                            Genetic Networks LLC
            1951 NW 7th Ave., Suite 300                     c/o Corporation Service Company
            Miami, FL 33136                                 251 Little Falls Drive
                                                            Wilmington, DE 19808


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    The last four digits of FTX Trading Ltd.’s and Alameda Research LLC’s tax identification number are 3288 and
    4063, respectively. Due to the large number of debtor entities in these Chapter 11 Cases, a complete list of the
    Debtors and the last four digits of their federal tax identification numbers is not provided herein. A complete list
    of such information may be obtained on the website of the Debtors’ claims and noticing agent at
    https://cases.ra.kroll.com/FTX. The principal place of business of Debtor Emergent Fidelity Technologies Ltd is
    Unit 3B, Bryson’s Commercial Complex, Friars Hill Road, St. John’s, Antigua and Barbuda.


{1368.002-W0072348.}
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Dated: September 6, 2023                      LANDIS RATH & COBB LLP
       Wilmington, Delaware
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{1368.002-W0072348.}                          2
